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IN THE UNITED STATES DISTRICT COURT —_ REDACTED FOR
FOR THE DISTRICT OF ARIZONA PUBLIC DISCLOSURE

No.: GR-19-00898-PHX-DLR (DMF)
United States of America,

Plaintiff, INDICTMENT

VIO: 18U,S.C. § 1343
Wire Frau
(Counts 1-3)

David Allen Harbour, 18 U.S.C. § 1957
Transactional Money Laundering
(Counts 4-22)

 

 

 

Defendant.
18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)C1
28 U.S.C. § 2461(c)
Forfeiture Allegations
THE GRAND JURY CHARGES:

At all times material to this indictment, within the District.of Arizona and elsewhere:
INTRODUCTION .

1. Between about January of 2010 through October of 2015, DAVID ALLEN
HARBOUR (“HARBOUR”) defrauded investor-victims out of approximately
$2,901,242.67 by promoting and selling fraudulent high-yield investments, primarily
involving investments in high rate loans to small and start-up businesses. These loans are
also known as “payday loans.” In relation to these purported investment opportunities,
HARBOUR participated in making materially false statements and omissions to obtain
investment funds, orally during in-person or written solicitations, and in writing in

promissory notes, self-styled contracts, engagement letters, commercial security

 
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agreements, operating agreements, and other documents. HARBOUR then used the
investment funds for purposes other than what was promised to investor-victims, such as
for personal living expenses to support his family’s lavish lifestyle to include, but not
limited to, golf resort membership fees, personal credit card payments, extravagant parties,
mortgage payments, and private chartered jets, and other business ventures, and in some
instances used funds received from later investor-victims to make payments to earlier
investor-victims. .

DEFENDANT AND ENTITIES INVOLVED IN THE SCHEME TO DEFRAUD
2. HARBOUR resides in Paradise Valley, Arizona and orchestrated the fraudulent
payday investment opportunity and investment advisor scheme, acting through numerous
entities, either alone or with others.

a. In relation to the fraudulent investments in payday lending, HARBOUR and
_ others acted primarily through the following eleven entities:

e Highpointe Capital Group, LLC (HPCG), has been at all relevant times
a Limited Liability Company organized under the laws of the state of
Arizona in April 2007. At all relevant times, HPCG’s business office
was located at 21020 N Pima Rd., Scottsdale, AZ 85255. HPCG’s
member/managers included HARBOUR and C.R.

e Nautical Holdings, LLC is a Montana Limited Liability Company
formed on September 23, 2011. At all relevant times, Nautical Holdings
business office was located at 21020 N Pima Rd., Scottsdale, AZ 85255.
It was involuntarily dissolved on December 1, 2017 for failure to file an
annual report.

e DCR Hospital Investment, LLC (DCR) has been at all relevant times a
Limited Liability Company organized under the laws of the state of
Arizona in December 2011. At all relevant times, DCR’s business

office was located at 21020 N Pima Rd., Scottsdale, AZ 85255.

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1 e Pujanza Management, LLC (Pujanza) is a Wyoming Limited Liability
2 Company formed on July 1, 2014 and managed by HARBOUR. At all
3 relevant times Pujanza’s business office was located at 21020 N Pima
4 Rd., Scottsdale, AZ 85255. It has been dissolved by the Secretary of
5 State of Wyoming.
6 e Milagro Consulting, LLC (Milagro) is a Wyoming Limited Liability
7 Company formed on January 2, 2014 and managed by HARBOUR. At
8 all relevant times, Milagro’s business office was located at 21020 N
9 Pima Rd., Scottsdale, AZ 85255. It has been dissolved by the Secretary
10 of State of Wyoming.
11 e Oak Tree Management, LLC is a Wyoming Limited Liability Company
12 that was formed on December 10, 2013 and managed by HARBOUR.
13 It has been dissolved by the Secretary of State of Wyoming.
14 e 21020, LLC (21020) has been at all relevant times a limited liability
15 company organized under the laws of the state of Arizona in September
16 2011. At all relevant times, 21020’s business office was located at
17 21020 N Pima Rd., Scottsdale, AZ 85255. 21020’s members/managers
18 included HARBOUR, P.N., K. B., Highpointe Entertainment LLC, and
19 KB-2011.
20 e DNA Investments, LLC is a Delaware Limited Liability Company solely
21 managed and owned by HARBOUR. In 2015, the Department of
22 Financial Institutions ordered HARBOUR dba DNA Investments, LLC to
23 cease and desist from unlicensed activities and permanently banned
24 HARBOUR from the industry, case no. C-13-1319-15-CO03.
25 e Blue Pine Management, LLC (Blue Pine) is a Wyoming Limited Liability
26 Company that was formed on March 31, 2014. At all relevant times, Blue
27
28

 

 

 
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Pine’s business office was located at 21020 N Pima Rd., Scottsdale, AZ
85255.
e Mamalicious Maternity, LLC is a Wyoming Limited Liability Company

formed on December 10, 2013 and managed by A.H. At all relevant

times, Mamalicious Maternity’s business office was located at 21020 N

Pima Rd., Scottsdale, AZ 85255.

e NorthRock, LLC is a Missouri Limited Liability Company formed on

January 31, 2011 and managed by Melvin Dunsworth. NorthRock’s

business office was located at 600 W Main, Jefferson City, MO 65102.

On June 8, 2018 the business address was changed to 1625 W 50" St.,

Kansas City, MO 64112.

HIGH-YIELD INVESTMENT FRAUD SCHEME

3. HARBOUR solicited investor-victims to invest by promising excessive returns in
short periods of time. HARBOUR told investors their funds would be invested in short
term, high interest rate loans to small and start-up businesses, also known as payday loans.
HARBOUR represented he made 20% returns for his clients and assured investors
investing in payday lending was not risky because he would offer loans to a diversity of
small businesses. Investors were falsely told their funds would be used only as short term
loans to small and start-up businesses, and that the funds were secured by HARBOUR’S
personal guarantees.

a. HARBOUR set up various LLCs with investor-victims to facilitate
investments in payday lending. HARBOUR represented funds from investors would go to
Green Circle, the Native American lending entity established by HARBOUR, which would
finance consumer loans and generate profits. HARBOUR misrepresented to investors that
their principle would be paid back before he took a percentage of profits generated through
the payday loans. Most investors were never told they were not in first position to receive

returns.

 
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b. As a result of the fraudulent investment offerings, between January of 2010
through October of 2015, victim-investors provided $2,901,242.67 in investment funds.

C. Investors in Arizona and other states were solicited by HARBOUR in person.
HARBOUR was a member of several luxury golf resorts located in Scottsdale, Arizona,
Cabo San Lucas, Mexico, Palm Springs, California and Harrison, Idaho. HARBOUR
solicited potential investors at these golf resorts. For several victim investors, HARBOUR
invited them to his vacation condominium at Gozzer Ranch Golf and Lake Club in
Harrison, Idaho or his condominium in Cabo San Lucas. HARBOUR took’ potential
investors out on his luxury boats and out to fine dining and entertainment. HARBOUR
invited investors to his Skybox during Arizona State University football games. He also
invited potential investors to his 16 hole Skybox at the Phoenix Waste Management Open.

d. HARBOUR portrayed a veneer of success by telling investors about luxury
expenditures that intended to give the illusion that he was a successful investor. For
example, he described his 40" birthday party to one investor, where he explained how he
flew all of his friends to the party location on a private chartered airplane and hired the
1970s band, The Eagles, to play at his party.

e. Through operating agreements, contracts, promissory notes, emails, and
orally, HARBOUR, misrepresented virtually every material aspect of the purported
investment opportunities, including but not limited to: the backgrounds and experience of
the principals, the amount of funds actually going to the represented investment, that the
investor principal would be paid back to the investor before HARBOUR was compensated,
and the guaranteed rate of return.

INVESTOR-VICTIMS
4. The investor-victims made investments of $2,901,242.67, primarily related to loans
to small businesses or start-up businesses. In addition, HARBOUR made unauthorized

withdrawals of investor-victim funds in the amount of approximately $1,100,000 from the

lending entity Green Circle.

 
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. Deposit Date
Name Account Amount (on or about)
Highpointe Capital
R.G. Group $1,001,242.67 03/22/2010
Oak Tree Management
SNI Fund 1/R. T. LLC $500,000.00 07/30/2014
Pujanza Management
M.B. LLC $1,000,000.00 12/02/2014
Green Circle Oak Tree Management $1,100,000.00 08/11/2015
Oak Tree Management .
C.W. LLC $400,000.00 10/15/2015
Total $4,001,242.67
COUNTS 1-3
WIRE FRAUD

(18 U.S.C. § 1343)

The factual allegations in paragraphs 1 through 4 are incorporated by reference and
re-alleged as though fully set forth herein.
5. Beginning at a time unknown to the grand jury, but at least as early as in or about

January of 2010 and continuing to a time unknown to the grand jury, but to at least in or

_ about October of 2015, in the District of Arizona and elsewhere, Defendant HARBOUR,

individually and doing business under the entities described above, along with other
individuals and entities known and unknown to the Grand Jury, knowingly and willfully *
devised and intended to devise a scheme and artifice to defraud and to obtain money and
property from investor-victims by means of materially false and fraudulent pretenses and
representations, and by the concealment and omission of material facts.

6. On or about the dates listed below, for the purpose of executing and attempting to
execute the scheme or artifice to defraud and to obtain money and property, HARBOUR,
individually and doing business under the entities described above, knowingly transmitted
and caused to be transmitted, by means of wire and radio communications in interstate

commerce, certain writings, pictures, signals and sounds, to and from the District of

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Arizona and elsewhere, as set forth below, with each instance being a separate count of this

 

 

 

 

indictment:
Wire Date
(On or Recipient
Count About) Sender (Receiving Bank) Item Sent
Oak Tree
Management NT
1 07/30/2014 SNI Fund 1/R.T. 1790 $500,000.00
Pujanza Management,
2 12/02/2014 M.B. LLC BMO 5244 $1,000,000.00
Oak Tree
Management BMO
3 08/11/2015 Green Circle 1964 $1,100,000.00

 

 

 

 

 

 

 

This conduct was in violation of 18 U.S.C. § 1343.

COUNTS 4 - 22
TRANSACTIONAL MONEY LAUNDERING
(18 U.S.C. § 1957)

The factual allegations in paragraphs | through 6 are incorporated by reference and
re-alleged as though fully set forth herein.
7. On or about the dates listed below, Defendant HARBOUR, individually and doing
business under the entities described above, along with other individuals and entities
known and unknown to the Grand Jury, knowingly engaged and attempted to engage in the
following monetary transactions in the United States in criminally derived property of a
value exceeding $10,000, derived from specified unlawful activity, namely the violation of
18 U.S.C. § 1343 (wire fraud) as alleged in counts 1 through 3 above, with each instance

being a separate count under this indictment:

 

Date of Transaction Financial Description of

Count | Transaction ancl
(on or about) Amount Institution Transaction

 

 

Check #1238 from
DNA Investments LLC
NT 9412 to
D. S.

4 08/05/2014 $34,665.33 Northern Trust

 

 

 

 

 

 

 

 
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08/08/2014

$37,500.00

Northern Trust

Transfer from Oak
Tree NT 1790 to DNA
Management NT 3388

 

08/08/2014

$37,500.00

Northern Trust

Transfer from DNA
Management NT3388
to Highpointe Capital

Group, LLC BoA 3354

 

08/08/2014

$37,500.00

Bank of
America

Transfer from
Highpointe Capital
Group LLC BoA 3354
to Herrington Park 1,
LLC

 

0 Oo ND NW BW WV

08/21/2014

$12,083.90

Northern Trust

Check #1542 from
21020 LLC NT 5180 to
JIRG

 

08/27/2014

$142,785.88

Northern Trust

ACH Debit Payment
from DNA
Investments, LLC NT
9412 to HARBOUR’s
American Express

 

10

08/28/2014

$13,682.69

Bank of
America

Transfer from
Highpointe Capital
Group LLC BoA 3354
to Employment Edge

 

11

12/04/2014

$223,121.88

Northern Trust

ACH Debit Payment
from DNA
Management NT 3388
to HARBOUR’s
American Express

 

12

8/12/2015

$915,000.00

BMO Harris

Oak Tree Mn BMO
1964 to Milagro BMO
5236

 

13

08/13/2015

$750,000.00

Bank of
America

Milagro BMO 5236 to
David HARBOUR
BoA 8017

 

14

09/02/2015

$500,000.00

Bank of
America

David HARBOUR
BoA8017 to FTC
Receiver LEC

 

 

15

 

10/16/2015

 

$50,000.00

 

BMO Harris

 

Transfer from Oak
Tree BMO 1964 to
Milagro BMO 5236

 

 

 

 
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16

10/16/2015

$50,000.00

BMO Harris

Transfer from Milagro
BMO 5236 to
HARBOUR BofA
8017

 

17

10/19/2015

$75,000.00

BMO Harris

Transfer from Oak

Tree BMO 1964 to

HARBOUR BofA
8017

 

18

10/20/2015

$80,000.00

Bank of
America

Transfer from
HARBOUR BofA
8017 to AJS
Management US Bank
0603

 

19

10/20/2015

$75,000.00

US Bank

Transfer from AJS
Management US Bank
0603 to Grand Canyon

Title

 

20

11/06/2015

$75,000.00

BMO Harris

Transfer from Oak
Tree BMO 1964 to
Milagro BMO 5236

 

21

11/06/2015

$75,000.00

BMO Harris

Transfer from Milagro
BMO 5236 to
HARBOUR BofA
8017

 

 

22

 

11/09/2015

 

$70,099.49

 

Bank of
America

 

ACH Payment from
HARBOUR BofA
8017 to HARBOUR’s
American Express

 

 

This conduct was in violation of 18 U.S.C. § 1957.

~ FORFEITURE ALLEGATIONS
The Grand Jury realleges and incorporates the allegations of Counts |

8.

through 22 of this Indictment, which are incorporated by reference as though fully set forth

herein.

Pursuant to Title 18, United States Code, Sections 981 and 982, Title 21, United

States Code, Section 853 and Title 28, United States Code, Section 2461(c) and upon

conviction of one or more of the offenses alleged in Counts 1 through 22 of this Indictment,

 

 
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1 | the defendant(s) shall forfeit to the United States all right, title, and interest in any and all
2) property, real or personal, involved in such offense(s), or any property traceable to such
3
property involved in the offense(s), or conspiracy to commit such offense(s), including the
4
5 following: (a) all money or other property that was the subject of each transaction,
6 | transportation, transmission or transfer in violation of a statute listed in Title 18, United
d States Code, Section 982, (b) all other property constituting proceeds obtained as a result
8
9 of those violations, and (c) all property used in any manner or part to commit or to facilitate
10 | the commission of those violations including, but not limited to the sum of money
11 representing the amount of money involved in the offense(s) and the property named
12].
below.
13
14 a 8901 N. Martingale Road, Paradise Valley, Arizona 85253, more particularly
15 described as:
16 The Southwest Quarter of Tract 5, Squaw Peak Estates, According to the Plat.
17 of record in the Office of the County Recorder of Maricopa County, Arizona,
18 recorded in Book 38 of Maps, page 30; Except the south 25 feet thereof.
19 b. A sum of money equal to at least $4,101,242.67 in United States currency,
20 representing the amount of money involved in the offenses.
71 If any of the above-described forfeitable property, as a result of any act or omission
22
of the defendant(s):
23 .
24 (1) cannot be located upon the exercise of due diligence,
5 (2) has been transferred or sold to, or deposited with, a third party,
26 (3) has been placed beyond the jurisdiction of the court,
27 (4) has been substantially diminished in value, or
28 (5) has been commingled with other property which cannot be divided without
-10-

 

 

 
 

 

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1 difficulty, it is the intent of the United States to seek forfeiture of any other property of said
2| defendant(s) up to the value of the above-described forfeitable property, pursuant to Title
3 21, United States Code, Section 853(p).
All in accordance with Title 18, United States Code, Sections 981 and 982, Title 21,
6 | United States Code, Section 853, Title 28, United States Code, Section 2461(c), and Rule
7 32.2, Federal Rules of Criminal Procedure.
8
9
10 A TRUE BILL
11
12 TOREPERSON OF THE GRAND JURY
Date: July 30, 2019
13
14} MICHAEL BAILEY
United States Attorney
15 | District of Arizona
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"7 eEVIN M. RAPP
18 | Assistant U.S. Attorney
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